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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


KARI FITZSIMMONS,                                             CASE NO. 1:17-cv-01579-RDM

                 Plaintiff,

           VS.


DISCOVER BANK; TRANS UNION,
LLC; and EQUIFAX INFORMATION
SERVICES, LLC;

                 Defendants.


           ORDER OF DISMISSAL WITH PREJUDICE BETWEEN PLAINTIFF AND
                       DEFENDANT TRANS UNION, LLC ONLY


           Plaintiff Kari Fitzsimmons, by counsel, and Defendant Trans Union, LLC, by counsel,

having filed their Stipulation of Dismissal With Prejudice Between Plaintiff And Defendant Trans

Union, LLC Only, AND THE COURT, having been duly advised, NOW FINDS that the same

should be granted.

           IT IS, THEREFORE, ORDERED that all claims of Plaintiff Kari Fitzsimmons against

Defendant Trans Union, LLC are dismissed, with prejudice. Plaintiff Kari Fitzsimmons and

Defendant Trans Union, LLC shall each bear their own costs and attorneys' fees.




                                                                                    ourt,
                                                       District of Delaware




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